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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                  MDL No. 2738

                                                  NOTICE OF DEFENDANT PERSONAL
 IN RE: JOHNSON & JOHNSON                         CARE PRODUCTS COUNCIL’S MOTION
 TALCUM POWDER PRODUCTS                           TO DISMISS
 MARKETING, SALES PRACTICES, AND
 PRODUCTS LIABILITY LITIGATION                    Return Date: March 6, 2017 at 9:00 a.m.

                                                  ORAL ARGUMENT REQUESTED


                 DEFENDANT PERSONAL CARE PRODUCTS COUNCIL’S
                       NOTICE OF ITS MOTION TO DISMISS

          PLEASE TAKE NOTICE that at 9:00 a.m. on March 6, 2017, or such other time and

 date set by the Court, Defendant Personal Care Products Council, by its undersigned counsel,

 will move before the Honorable Freda L. Wolfson, U.S.D.J., United States District Court for the

 District of New Jersey, Clarkson S. Fisher Building & U.S. Courthouse, 402 East State Street,

 Room 2020, Trenton, NJ 08608, for an entry of an Order granting Defendant Personal Care

 Products Council’s Motion to Dismiss Plaintiffs’ Complaints.

          PLEASE TAKE FURTHER NOTICE that in support of its motion, Defendant

 Personal Care Products Council will rely on the Memorandum of Law and the accompanying

 Declaration of Mark A. Pollak and the attached exhibits submitted herewith. A proposed form of

 Order is also submitted herewith.

          PLEASE TAKE FURTHER NOTICE that Defendant Personal Care Products Council

 requests oral argument on its motion.




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 Dated: February 6, 2017                Respectfully submitted,


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